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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA

MAGGIE SMITH, et al.,
Plaintiffs,

v. Case No. 1:15-cv-00737-RCL

DISTRICT OF COLUMBIA,

Defendant.

 

 

MEMORANDUM OPINION AND ORDER

Plaintiffs move to compel the District of Columbia to provide discovery about certain

- “persons who fell into one or more of ‘restricted categories’ of people prohibited from owning or
possessing a firearm by D.C. Code § 4503(a)(1) to (a)(6) or D.C. Code § 4504(a)(2)” and to
“Gdentify the restricted category they fall into.” ECF No. 96. This criminal-record history the
plaintiffs are seeking is, in their words, “basically publicly available convictions and pending court
orders and warrants which the District collects about arrestees at the time of arrest or booking.”
Id. at 2. The District counters that the information would not only be irrelevant to the question of
liability currently being litigated, but also unduly burdensome. ECF No. 107.' Given the current
needs of the case, the fact that the class has not yet been certified, and the burden the District

presents, plaintiffs’ motion to compel is DENIED.

 

1 The District also argues that it is prohibited from providing such information under the “Duncan
Ordinance,” 1 DCMR § 1004, which prohibits the use of arrest records for employment qualification
purposes. ECF No. 107 at 1-2. Because this Court denies the motion to compel on other grounds, it will
not address the “Duncan Ordinance” here.
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I. BACKGROUND

In their motion, plaintiffs ask the District to identify each “putative class member who fell
into any one or more of the following ‘restricted categories’ (and to identify the category they fall
into) for each persons [sic] who was at the time of their arrest: (1) a drug addict; (2) had ever been
convicted of a felony; (3) had ever been convicted of a firearms charge; (4) had ever been convicted
of a misdemeanor crime of domestic violence of [sic] an intrafamily offense . . . ; (5) subject to a
civil protection order issued in relation to domestic violence and required the person to relinquish
possession of any firearms; or (6) had been judged mentally incompetent by a court.” ECF No. 96
at 1. They also seek the “criminal history record information” of all putative class members who
fall into one of these categories. Jd. It appears from their motion that plaintiffs want the District to
perform searches for each putative class member within the District’s Computerized Criminal
History database (““CCH”) and the Washington Law Enforcement System (“WALES”), and then
provide documentary evidence of those searches. ECF No. 107 at 4. The plaintiffs apparently seek
this information to exclude potential putative class members who would not qualify for damages,
though they concede that the classes “could be defined without the data identifying potential class
members who fell into a restricted category.” ECF No. 96 at 2.

As plaintiffs note, the District has already provided them with the Superior Court
convictions of potential putative class members, including code sections and charge codes. ECF
No. 96 at 8. But plaintiffs want more—not satisfied with just District records of convictions or
arrest, plaintiffs are seeking the criminal history information from all jurisdictions for hundreds if

not thousands of potential class members.”

 

* The parties dispute how many people plaintiffs are requesting the District to search. The District
repeatedly identifies it as 4,500 people, while plaintiffs argue they have limited their request to only
nonresidents who were not charged with “restricted category offenses” but do not provide an exact number.
ECF No. 96 at 3.
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II. DISCUSSION

It has “long been recognized that under the broad sweep of Rule 26(b)(1) of the Federal
Rules of Civil Procedure, a party may obtain discovery regarding any matter, not privileged, which
is relevant to the subject matter involved.” Oxbow Carbon & Mins. LLC v. Union Pac. R.R. Co.,
322 F.R.D. 1, 6 (D.D.C. 2017) (cleaned up). But such discovery must be relevant and proportional
to the needs of the case. Jd. Rule 26 requires courts to limit discovery where “the discovery sought
is unreasonably cumulative or duplicative, or can be obtained from some other source that is more
convenient, less burdensome, or less expensive” or when the information sought is not proportional
to the needs of the case, “considering the importance of the issues at stake in the action, the amount
in controversy, the parties’ relative access to relevant information, the parties’ resources, the
importance of the discovery in resolving the issues, and whether the burden or expense of the
proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1), (b)(2)(C)@).

The Court turns to the Rule 26 factors first. Fed. R. Civ. P. 26(b)(1). There are undoubtedly
important issues at stake in the action. This is a public interest case involving the Second
Amendment. The potential amount in controversy if the class is certified is no doubt significant—
plaintiffs estimate it could “easily run into the millions.” ECF No. 113 at 13. And the question of
whether potential class members have a valid claim or should be excluded from the class is relevant
to the action. But all other Rule 26 factors support denying the motion to compel at this juncture.
Plaintiffs seek information that would be relevant only to potential damages and notice for putative
members in a class action that has not yet been certified. This potential benefit is far outweighed
by the apparent 150 hours of work the District argues would be necessary to obtain the results of
the 4,500 putative class members, ECF No. 107 at 12, especially given the fact that much of the

requested information is “publicly available,” ECF No. 96 at 2.
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A major dispute regarding the potential burden of these searches undergirds this motion
and the opposition: Plaintiffs allege that the District can perform bulk searches of data on CCH
and WALES, so the burden is minimal. ECF No. 113 at 5. The District flatly denies this capability
and points to a declaration of one of their program managers, Donald Dudley, who declared that
searches of a person’s criminal history in CCH and WALES must be done individually. ECF No.
107-6 at 3. In fact, he reports that current Metropolitan Police Department information technalogy
employees have never “heard of [bulk] searches being done, going back almost 15 years.” Id.

Plaintiffs argue that Dudley’s declaration is “contradicted” by Dudley’s previous
deposition. ECF No. 113 at 5. But nothing in the deposition they cite indicates that the District
could specifically perform a “bulk” search on a list of names or identification numbers to provide
a full criminal record history, Dudley testified that data warehouse engineers “have the capability
of scripting” beyond what a person at the terminal can do, for the purposes of “bulk reports”—he
made no mention of bulk reports of entire criminal histories based on a list of names. ECF No. 115
at 24. That testimony is consistent with his later declaration that bulk searches of an individual’s
entire criminal history are impossible.

This Court thus agrees with the District that, at this point of the proceedings, “the burden
to produce broad public-record criminal conviction histories from any other jurisdiction would be
... disproportionate” to plaintiffs’ current need to potentially exclude certain persons from a class
not yet-certified. ECF No. 107 at 15.3 Plaintiffs may, of course, renew their motion to compel if
the class action is certified. Accordingly, the Court ORDERS that plaintiffs’ motion to compel is

DENIED.

 

} Because the Court agrees that the Rule 26 factors do not support a motion to compel at this time, it will
not address whether the plaintiff's requested search is “unduly burdensome.”

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The Court further ORDERS that the parties shall meet and confer regarding a schedule for
resolution of the class certification issue. Parties shall submit a proposed order and schedule within

ten (10) days of this Order.

It is SO ORDERED.

Date: September ~7, 2021 Cane. Jord

Hon. Royce C. Lamberth
United States District Judge

 
